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 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Michael Taylor Sr.
 4
 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                               )
     UNITED STATES OF AMERICA,                   )   Case No.: 2:12-cr-0375-TLN
 9
                                                 )
10                 Plaintiff,                    )   STIPULATION AND ORDER FOR
                                                 )   CONTINUANCE OF STATUS
11                                                   CONFERENCE
           vs.                                   )
12                                               )
     KENNETH PARKS, et al.,                      )
13            Defendants.                        )
14                                               )
15
16         Plaintiff, United States of America, by and through its counsel of record, and
17   Defendants, by and through their counsel of record, hereby stipulate as follows:
18         1.      By previous order, this case was set for a Status Conference and possible
19                 Motion Hearing on September 26, 2013. A Jury Trial is scheduled for
20                 March 31, 2014.
21         2.      By this stipulation, the all Defendants move to continue the Status
22                 Conference to November 14, 2013. Plaintiff does not oppose this request.
23                 Time has previously been excluded up to the jury trial date of March 31,
24                 2014, under Local Code T4. The parties agree and stipulate and request
25                 that the Court find the following:
26                 a. The government provided discovery associated with this case that
27                    includes approximately 700 pages. This discovery has been either
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 1              produced directly to counsel and/or made available for inspection and
 2              copying.
 3           b. Counsel for defendants desires additional time in order to continue
 4              review of the discovery and contemplate a potential resolution.
 5           c. Counsel for defendants believes that failure to grant the above-requested
 6              continuance would deny him/her the reasonable time necessary for
 7              effective preparation, taking into account the exercise of due diligence.
 8           d. The government does not object to the continuance.
 9           e. Based on the above-stated findings, the ends of justice served by
10              continuing the case as requested outweigh the interest of the public and
11              the defendant in a trial within the original date prescribed by the Speedy
12              Trial Act.
13           f. For the purpose of computing time under the Speedy Trial Act, 18
14              U.S.C. § 3161, et seq., within which trial must commence, the time until
15              March 22, 2013, is deemed excludable pursuant to 18 U.S.C.§
16              3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
17              continuance granted by the Court at defendant’s request on the basis of
18              the Court’s finding that the ends of justice served by taking such action
19              outweigh the best interest of the public and the defendant in a speedy
20              trial.
21   3.      Nothing in this stipulation and order shall preclude a finding that other
22           provisions of the Speedy Trial Act dictate that additional time periods are
23           excludable from the period within which a trial must commence.
24
25   IT IS SO STIPULATED.
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     DATED: September 19, 2013
 1
                                              By:    /s/ Thomas A. Johnson
 2                                                   Thomas A. Johnson
                                                     Attorney for Michael Taylor Sr.
 3
 4
     DATED: September 19, 2013
 5                                            By:    /s/ Thomas A. Johnson for
                                                     DANNY BRACE
 6                                                   Attorney for Kenneth Parks
 7   DATED: September 19, 2013
                                              By:    /s/ Thomas A. Johnson for
 8                                                   CHRISTOPHER COSCA
                                                     Attorney for Gregory Martin
 9
     DATED: September 19, 2013
10                                            By:    /s/ Thomas A. Johnson for
                                                     TIMOTHY WARRINER
11                                                   Attorney for Michael Taylor Jr.
12   DATED: September 19, 2013
                                              By:    /s/ Thomas A. Johnson for
13                                                   MICHAEL CHASTAINE
                                                     Attorney for Andre Walters
14
15
     DATED: September 19, 2013                       BENJAMIN B. WAGNER
16                                                   United States Attorney
17                                             By:    /s/ Thomas A. Johnson for
                                                     JARED DOLAN
18                                                   Assistant U.S. Attorney
19
20                                     ORDER
21         IT IS SO ORDERED.
22   Dated: September 19, 2013
23
24
25                                                     Troy L. Nunley
                                                       United States District Judge
26
27
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                                                                                       3
